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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                           CASE NO. 07-21221-CIV-ALTONAGA/Brown

  RENEE BLASZKOWSKI,
  AMY HOLLUB and PATRICIA
  DAVIS, et al.,

          Plaintiffs,
  vs.

  MARS INC.; PROCTOR & GAMBLE CO.,
  et al.,

        Defendants.
  _______________________________________/

                                              ORDER

          THIS CAUSE came before the Court upon Defendant, Nutro Products, Inc.’s (“Nutro[’s]”)

  Unopposed Motion to Substitute Nutro’s Counsel of Record (“Motion”) [D.E. 357]. The Court

  being fully advised, it is

          ORDERED AND ADJUDGED that the Motion [D.E. 357] is GRANTED. William

  Wegner, Gail E. Lees, Gary L. Justice, Mark Whitburn, Charles H. Abbot and the law firm of Gibson,

  Dunn & Crutcher, LLP are hereby granted leave to withdraw as counsel for Defendant Nutro. Omar

  Ortega and the law firm of Dorta & Ortega, P.A. and Dane H. Butswinkas, Patrick J. Houlihan,

  Thomas G. Hentoff, Philip A. Sechler and the law firm of Williams & Connolly LLP are to be

  substituted as counsel of record for Defendant Nutro.

          DONE AND ORDERED in Chambers at Miami, Florida, this 5th day of May, 2008.


                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE
  cc:     Hon. Stephen T. Brown
          counsel of record
